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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
________________________________
                                 )
                                 )
IN RE:                           )
APPLICATION OF PATOKH CHODIEV    )
AND INTERNATIONAL MINERAL        )
RESOURCES B.V. FOR AN ORDER TO ) Civil Action No. 18-mc-13(EGS)
TAKE DISCOVERY PURSUANT TO 28    )
U.S.C. § 1782                    )
                                 )
                                 )
________________________________)

                                ORDER

     On July 30, 2020, the Court referred this case to

Magistrate Judge Meriweather for a Report and Recommendation on

Cable News Network’s (“CNN’s”) motion to intervene and to unseal

several docket entries. Magistrate Judge Meriweather issued a

Report and Recommendation on March 23, 2021. The Court has

carefully reviewed the Report and Recommendation and, having

received no objections to the Report and Recommendation pursuant

to Local Civil Rule 72.3(b), accepts the findings and adopts the

recommendations of Magistrate Judge Meriweather contained in the

Report and Recommendation. Accordingly, it is hereby

     ORDERED that CNN’s motion to intervene, for the limited

purpose of seeking access to certain judicial records filed

under seal or otherwise not available on the public docket, is

GRANTED; and it is further




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     ORDERED that CNN’s motion for access to those judicial

records is GRANTED; and it is further

     ORDERED that the Clerk of Court shall, within five days of

this Order, place on the public docket a copy of the records

corresponding with the following docket entries in this matter:

1, 4, 6, 6-1, 6-2, 6-3, 6-4, 6-5, 6-6, 8, 8-1, 8-2, 8-3, 8-4, 8-

5, 8-6, 8-7, 8-8, 8-9, 14, 14-1, 14-2, 21, 21-1, 22, and 23.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          May 7, 2021




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